          Case 1:22-cr-00007-LKG Document 194 Filed 02/27/23 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )        Criminal Case No. 22-cr-00007-LKG
                                                )
 MARILYN J. MOSBY,                              )        Dated: February 27, 2023
                                                )
         Defendant.                             )
                                                )

                              AMENDED SCHEDULING ORDER
        The Court, with the assistance of the parties, MODIFIES the Scheduling Order, dated
September 15, 2022, as follows:


      Consolidated response to defendant’s motion
      to dismiss; defendant’s motion for a bill of
      particulars; and defendant’s motion to
      disqualify counsel.                                      March 11, 2022

      Consolidated reply in support of defendant’s
      motion to dismiss; defendant’s motion for a
      bill of particulars; and defendant’s motion to
      disqualify counsel.                                      March 25, 2022

      Hearing on pre-trial motions and first pre-trial
      status conference.                                       April 14, 2022, at 2 p.m., in
                                                               Courtroom 1A of the Edward A.
                                                               Garmatz Building, 101 West
                                                               Lombard Street, Baltimore,
                                                               Maryland 21201.

      Meet and confer regarding expert witnesses
      and pre-trial motions.                                   May 1, 2023

      The parties’ expert disclosures.                         June 1, 2023


      Pre-trial motions and supplemental expert
      disclosures.                                             June 30, 2023

      Responses to pre-trial motions and any
    Case 1:22-cr-00007-LKG Document 194 Filed 02/27/23 Page 2 of 3



motion(s) to exclude.                              July 14, 2023

Replies to pre-trial motions                       July 21, 2023

Response(s) to motion(s) to exclude.               July 28, 2023

Replies in support of motion(s) to exclude.        August 4, 2023

Pre-trial status conference and hearing on
motion(s) to exclude and to supplement.            September 8, 2023, in Courtroom
                                                   1A of the Edward A. Garmatz
                                                   Building, 101 West Lombard Street,
                                                   Baltimore, Maryland 21201.

Motion(s) in limine; proposed voir dire;
revised proposed jury instructions; and a
proposed jury verdict form. In preparing
proposed voir dire, proposed jury instructions,
and a proposed jury verdict form, counsel
shall meet and confer and, to the fullest extent
possible, make a joint submission. Counsel
shall identify any matters of disagreement
through supplemental filings.                      September 15, 2023

Responses to motion(s) in limine.                  September 29, 2023

Replies to motion(s) in limine.                    October 6, 2023

Pre-trial status conference and hearing on
motion(s) in limine.                               October 23, 2023 in Courtroom 1A
                                                   of the Edward A. Garmatz
                                                   Building, 101 West Lombard Street,
                                                   Baltimore, Maryland 21201.

Final pre-trial status conference.                 October 30, 2023, in Courtroom 1A
                                                   of the Edward A. Garmatz
                                                   Building, 101 West Lombard Street,
                                                   Baltimore, Maryland 21201.


Jury selection.                                    October 31, 2023, in Courtroom 1A
                                                   of the Edward A. Garmatz
                                                   Building, 101 West Lombard Street,
                                                   Baltimore, Maryland 21201.




                                                                                 2
     Case 1:22-cr-00007-LKG Document 194 Filed 02/27/23 Page 3 of 3




Jury trial.                                    November 2, 2023, in Courtroom
                                               1A of the Edward A. Garmatz
                                               Building, 101 West Lombard Street,
                                               Baltimore, Maryland 21201.

   IT IS SO ORDERED.


                                    s/ Lydia Kay Griggsby
                                    LYDIA KAY GRIGGSBY
                                    United States District Judge




                                                                             3
